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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

THE BOARD OF TRUSTEES OF THE                        )
UNIVERSITY OF ILLINOIS,                             )       Case No. 21-cv-06546
                                                    )
                               Plaintiff,           )       Hon. Judge John Robert Blakey
                                                    )
        v.                                          )
                                                    )
VINTAGE BRAND, LLC,                                 )
                                                    )
                               Defendant.           )

                                      NOTICE OF FILING

TO:       Andrew L. Goldstein, Esq., D. Richard Self, Esq., and Jeffrey J. Catalano, Esq.
                                    Freeborn & Peters LLP
                              311 South Wacker Drive, Suite 3000
                                    Chicago, Illinois 60606
         e-mail: agoldstein@freeborn.com; rself@freeborn.com; jcatalano@freeborn.com

        PLEASE TAKE NOTICE that on this 15th day of April, 2022, we filed with the Clerk of
the United States District Court, Northern District of Illinois, Eastern Division, Defendant
Vintage Brand, LLC’s Answer, Affirmative Defenses and Counterclaims to Plaintiff The
Board of Trustees of the University of Illinois’ Second Amended Complaint, a copy of which
is hereby served upon you.

                                                     /s/ Richard D. Boonstra
State of Illinois      )
                       ) SS
County of Cook         )
                                      PROOF OF SERVICE

        I hereby certify that on the above date, I electronically filed with the Clerk of the U.S.
District Court, Northern District of Illinois, Eastern Division, the foregoing by using the CM/ECF
system, which will send notification of such filing(s) to all counsel of record.


                                                     /s/ Richard D. Boonstra
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